Case 1:14-cr-00072-PLM          ECF No. 242, PageID.1330            Filed 12/11/14      Page 1 of 2




                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:14-cr-00072-PLM-10
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
CYNTHIA WESSEL,                     )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 3, 2014, after receiving the written consent of defendant and all counsel, which

was adjourned prior to completion to address a legal issue. The hearing resumed and was completed

today. At the hearing, defendant Cynthia Wessel entered a plea of guilty to the Superseding

Information in exchange for the undertakings made by the government in the written plea agreement.

In the Superseding Information, defendant is charged with Misprision of a Felony, in violation of

Title 18 United States Code, section 4. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
Case 1:14-cr-00072-PLM             ECF No. 242, PageID.1331         Filed 12/11/14      Page 2 of 2




               Accordingly, I recommend that defendant's plea of guilty to the Superseding

Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: December 11, 2014                                /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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